✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                  CONNECTICUT



               UNITED STATES OF AMERICA
                                                                                                                                     WITNESS LIST
                                        V.
                       DANIEL CARPENTER                                                                                Case Number: 3:13-cr-00226-RNC-1

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Honorable Robert N. Chatigny                                       Neeraj Patel                                              James M. Cole, et al.
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 12/03/2018 Sentencing Date                                         Darlene Warner                                            L. Pipech
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

                      12/3/2018                                     DR. HOWARD V. ZONANA, MD

                      12/3/2018                                     DR. MADELON V. BARANOSKI, PhD




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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